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10                             UNITED STATES DISTRICT COURT

11                     FOR THE CENTRAL DISTRICT OF CALIFORNIA

12   UNITED STATES OF AMERICA,                  No. 24-MJ-2125

13             Plaintiff,                       [PROPOSED] ORDER

14                   v.

15   IPPEI MIZUHARA,

16             Defendant.

17

18        The Court has read and considered the parties’ stipulated
19   application to continue the post-indictment arraignment. The Court
20   finds that the stipulation, which this Court incorporates by
21   //
22   //
23   //
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1    reference into this Order, demonstrates good cause to continue the

2    post-indictment arraignment.

3           THEREFORE, FOR GOOD CAUSE SHOWN:

4           The post-indictment arraignment currently scheduled for May 9,

5    2024, is continued to May 14, 2024.

6           IT IS SO ORDERED.

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8

9    DATE                                       HONORABLE
                                                UNITED STATES DISTRICT JUDGE
10
     Presented by:
11
          /s/ Jeff Mitchell
12   JEFF MITCHELL
     Assistant United States Attorney
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